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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF IDAHO

WESTERN WATERSHEDS PROJECT,         )
et al.,                             )        Case No. 1:16-cv-00083-BLW
                                    )
      Plaintiffs,                   )
                                    )        DEFENDANTS’ STATUS
v.                                  )        REPORT
                                    )
U.S. DEPARTMENT OF THE              )
INTERIOR, et al.,                   )
                                    )
      Defendants.                   )
____________________________________)




Defendants’ Status Report
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        Defendants U.S. Department of the Interior et al. hereby submit this status report

pursuant to the Court’s May 24, 2021 Order, ECF No. 283.

        The background of this case is explained in Defendants’ prior report and is not repeated

here. See Defs.’ Status Report in Response to the Court’s March 10, 2021 Order, ECF No. 282.

The current status of the U.S. Bureau of Land Management’s (“BLM”) and the U.S. Forest

Service’s (“Forest Service”) evaluation of Sage Grouse policy is discussed below.

        BLM is currently evaluating three separate aspects of Sage Grouse policy. First, BLM is

evaluating how to proceed with a further process for evaluating a proposed withdrawal of lands

from mineral entry in response to the Court’s order granting partial summary judgment to

Plaintiffs on that claim and remanding the action back to the Department of the Interior. See

Feb. 11, 2021 Mem. Decision and Order, ECF No. 264. In accordance with the Court’s

direction, BLM plans to initiate a new National Environmental Policy Act (“NEPA”) process

soon with the publication of a notice in the Federal Register. Defendants anticipate that the

notice will be published in the next twenty-one days. The steps below will occur shortly

thereafter.

        Second, BLM is evaluating existing policy regarding compensatory mitigation, which is

challenged in Plaintiffs’ Sixth Claim. See First Supp. Compl. ¶¶ 188-93. That claim is directed

towards policies initiated during the prior administration and set forth in certain Secretary’s

orders and guidance documents, including Secretary’s Order (“SO”) Nos. 3349 and 3360,

Solicitor’s Office M-Opinion M-37046 and Instruction Memorandum (“IM”) 2019-018. Id. ¶

189. Following her confirmation, Secretary of the Interior Debra Haaland issued Secretary’s

Order No. 3398 (Apr. 16, 2021), available at: https://www.doi.gov. That order rescinds SO Nos.

3349 and 3360. Id. § 4. SO 3398 also directs Department of the Interior staff to “review and




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revise as necessary all policies and instructions that implemented” the SOs revoked by the order.

Id. § 5. Defendants expect that, following the completion of that review, M-37046 and IM 2019-

018 will be rescinded or revised, but that has not yet occurred.

       Third, BLM is evaluating the Greater Sage Grouse Resource Management Plan

Amendments issued in 2019 (the “2019 Plans”), which were enjoined by the Court, see Oct. 16,

2019 Mem. Decision and Order, ECF No. 189, as well as the six Supplemental Environmental

Impact Statements and records of decision issued at the end of 2020 and the beginning of 2021,

respectively. The Department of the Interior is currently evaluating the existing Sage Grouse

plans and intends to initiate a new planning process soon. This new process will address

inclusion of any new information and revisit the deficiencies previously identified by the Court.

       The Forest Service is in the process of evaluating Sage Grouse policy. The Forest

Service continues to work on a planning process that was initiated in 2017. The Forest Service

issued a Final EIS and draft records of decision for Proposed Land Management Plan

Amendments for pre-decisional objections on July 31, 2019. See

https://www.govinfo.gov/content/pkg/FR-2019-07-31/pdf/2019-16283.pdf. Under Forest

Service regulations, the Final EISs and draft records of decision were subject to a pre-decisional

objection process. See 36 C.F.R. 219 subpart B. The period for filing objections closed on

October 1, 2019, and the Forest Service sent responses to the objections on August 31, 2020.

The Forest Service is working on final records of decisions, and it is uncertain when those

decisions may be issued.

       In light of the foregoing, Defendants request that these proceedings continue to be put on

hold for an additional sixty days, at which point Defendants will provide a further update

regarding the agencies’ respective policies and planning processes with respect to Sage Grouse




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conservation. The agencies may take actions, or initiate planning, that would obviate the need to

proceed to the merits of the claims regarding compensatory mitigation policy and the 2019 Plans.

Allowing the agencies this additional time would preserve the parties’ and the Court’s resources

by avoiding potentially unnecessary litigation. Courts have broad discretion to stay proceedings

and to defer judicial review in the interest of justice and efficiency. See Air Line Pilots Ass’n v.

Miller, 523 U.S. 866, 879 n.6 (1998) (“[T]he power to stay proceedings is incidental to the

power inherent in every court to control the disposition of the causes on its docket with economy

of time and effort for itself, for counsel, and for litigants.”) (quoting Landis v. North Am. Co.,

299 U.S. 248, 254 (1936)); see also CMAX, Inc. v. Hall, 300 F.2d 265, 268 (9th Cir. 1962).

       Respectfully submitted this 9th day of July, 2021,

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